975 F.2d 1548
    Cap (Joseph)v.Rapp (Anthony G.), Pochran (Michael), Salisbury TownshipPolice Department, Salisbury Township, Allentown PoliceDepartment, City of Allentown, Lehigh County, Backenstoe(Judge), District Attorney Office, Doup (Carol), LehighCounty Deputy Sheriffs 'John Does', Lehigh County Sheriff,Mary Jane Does
    NO. 91-1841
    United States Court of Appeals,Third Circuit.
    Aug 07, 1992
    
      Appeal From:  E.D.Pa.,
      Troutman, J.
    
    
      1
      AFFIRMED.
    
    